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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

SAIM SARWAR, Individually,                                 :

               Plaintiff,                                  :

       v.                                                  :     Case Number: 1:20-cv-02667-GLR

STEELE PROPERTIES,                                         :

               Defendant.                                  :

                                               : : : : : : : :

                      DISCLOSURE OF CORPORATE INTEREST

Check all that apply:

x      I certify, as party/counsel in this case, that Steele Properties, LLC, is not an affiliate or
parent of any corporation, and no corporation, unincorporated association, partnership or other
business entity, not a party to the case, has a financial interest in the outcome of this litigation as
defined in Local Rule 103.3 (D.Md.).


❑     The following corporate affiliations exist with Steele Properties, LLC:
None.
                                                 (names of affiliates)




❑       The following corporations, unincorporated associations, partnerships or other business
entities which are not parties may have a financial interest in the outcome of this litigation:
None.
                                 (names of entities with possible financial interests)




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❑     In a case based on diversity jurisdiction, the following is a list of all members of
________________________________ and their states of citizenship:
    (name of LLC party)




____________________________________               ____________________________________
               (name of member)                                 (state of citizenship)


____________________________________               ____________________________________
               (name of member)                                 (state of citizenship)


____________________________________               ____________________________________
               (name of member)                                 (state of citizenship)


Note: If there are additional LLC members, please provide their names and states of citizenship
on a separate sheet of paper:


October 8, 2020                           GORMAN E. GETTY, III, P.A.



                                           By      /s/
                                                  Gorman E. Getty, III
                                                  Federal Bar #01787
                                                  23 Washington Street
                                                  Post Office Box 1485
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                                                  Email: ggetty@ggettylaw.com




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                           CERTIFICATE OF SERVICE

      I HEREBY CERTIFY, that on this 8th day of October, 2020, a copy of the foregoing

document was mailed, postage prepaid, unto:

             Tristan W. Gillespie, Esquire
             Thomas B. Bacon, P.A.
             5150 Cottage Farm Road
             Johns Creek, GA 30022

                                             GORMAN E. GETTY, III, P.A.



                                             By        /s/
                                                  Gorman E. Getty, III
                                                  Federal Bar No. 01787
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